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                   UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Simpson, et al.,                            NOTICE OF APPEARANCE

               Plaintiff(s)                 Case No:       0:08-cv-5758 MJD/ECW

v.

Bayer Healthcare, et al.,

               Defendant(s)


The undersigned attorney hereby notifies the Court and counsel that D. Clay Taylor, Esq.,
shall appear as counsel of record for the firm of Olshan Frome Wolosky, LLP, with
respect to their application to intervene and for fees and costs advanced on Plaintiff’s
behalf, in this case.



Dated: November 16, 2022.                   Taylor Fricton, PLLC

                                            By: /s/ D. Clay Taylor
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                                            OLSHAN FROME WOLOSKY, LLP
